Case 1:14-ml-02570-RLY-TAB Document 22476 Filed 08/04/22 Page 1 of 1 PageID #:
                                 132688




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

__________________________________________
IN RE: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                  MDL No. 2570
__________________________________________

This Document Relates to Plaintiff(s):
JENNIFER L. DINWIDDIE
Civil Case #1:21-cv-6553-RLY-TAB



           ORDER GRANTING MOTION TO SUBSTITUTE PROPER PARTY



       THIS MATTER, having come before this Court, upon the Plaintiff’s Motion to

Substitute Party (Dkt. 22371), and the Court being otherwise fully advised in the premises, that

Plaintiff’s motion to substitute a party is granted.

        IT IS THEREFORE ORDERED that Mikala Wade is substituted as Party Plaintiff for

Jennifer L. Dinwiddie, deceased, in this case, and that all future pleadings shall reflect the

proper party.

         Date: 8/4/2022
                                                 _______________________________
                                                  Tim A. Baker
                                                  United States Magistrate Judge
                                                  Southern District of Indiana




Distribution to all registered counsel of record via CM/ECF.
